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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     D.C., a minor by and through his                   Case No.: 15cv1868-MMA- NLS
       Guardian Ad Litem, HELEN GARTER,
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       on behalf of himself and all others                ORDER
13     similarly situated,
                                         Plaintiff,         (1) FOR STATUS REPORT
14
15     v.                                                   (2) SETTING STATUS
                                                                CONFERENCE VIA
16     COUNTY OF SAN DIEGO, A.B. AND
                                                                VIDEOCONFERENCE
       JESSIE POLINSKY CHILDREN’S
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       CENTER, SAN DIEGO COUNTY
18     HEALTH AND HUMAN SERVICES
       AGENCY,
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                                      Defendants.
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22          This case was previously stayed pending Plaintiff’s Petition for Writ of Certiorari.
23    ECF No. 97. On October 13, 2020, the parties notified the Court that the Petition for
24    Writ has been denied. ECF No. 100. Accordingly, the Court ORDERS as follows:
25          1.     The parties previously filed a status report with the Court as to the state of
26    discovery in the case. ECF No. 93. The Court now ORDERS the parties to file an
27    updated joint status report, to outline what discovery remains in the case. Parties should
28    include what claims Plaintiff seeks to add to the complaint and what additional discovery

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 1    would be required should leave to amend be granted. This report shall be filed on or
 2    before October 26, 2020.
 3           2.     Counsel must appear on October 28, 2020 at 10:00 am before Magistrate
 4    Judge Stormes for a further status conference via videoconference. To facilitate the
 5    videoconference, the parties shall abide by the following procedures:
 6                  a. The Court will use its official Zoom video conferencing account to hold
 7                      the conference. If you are unfamiliar with Zoom: Zoom is available on
 8                      computers through a download on the Zoom website
 9                      (https://zoom.us/meetings). Participants must use laptops or desktop
10                      computers for the conference. Participants are encouraged to create an
11                      account, install Zoom and familiarize themselves with Zoom in advance
12                      of the conference.1 There is a cost-free option for creating a Zoom
13                      account.
14                  b. Prior to the start of the conference, the Court will email each participant
15                      an invitation to join a Zoom video conference. Participants shall join the
16                      video conference by following the ZoomGov Meeting hyperlink in the
17                      invitation. Participants who do not have Zoom already installed on
18                      their device when they click on the ZoomGov Meeting hyperlink will
19                      be prompted to download and install Zoom before proceeding. Zoom
20                      may then prompt participants to enter the password included in the
21                      invitation. All participants will be placed in a waiting room until the
22                      conference begins.
23                  c. Each participant should plan to join the Zoom video conference at least
24                      five minutes before the start of the conference to ensure that the
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             For help getting started with Zoom, visit: https://support.zoom.us/hc/en-us/categories/200101697-
      Getting-Started
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 1                   conference begins promptly at 10:00 a.m. The Zoom e-mail invitation
 2                   may indicate an earlier start time, but the conference will begin at
 3                   the Court-scheduled time.
 4                d. No later than October 26, 2020, counsel for each party shall send an e-
 5                   mail to the Court at efile_stormes@casd.uscourts.gov containing the
 6                   following:
 7                      i. The name and title of each participant,
 8                     ii. An e-mail address for each participant to receive the Zoom
 9                         video conference invitation; and
10                     iii. A telephone number where each participant may be reached so
11                         that if technical difficulties arise, the Court will be in a position to
12                         proceed telephonically instead of by video conference. (If counsel
13                         prefers to have all participants of their party on a single conference
14                         call, counsel may provide a conference number and appropriate
15                         call-in information, including an access code, where all counsel
16                         and parties or party representatives for that side may be reached as
17                         an alternative to providing individual telephone numbers for each
18                         participant.)
19          IT IS SO ORDERED.
20    Dated: October 21, 2020
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